Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1595 Filed 08/17/23 Page 1 of 38




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


RICHARD PRATT and LARRY JONES,             Case No. 21-cv-11404-TLL-PTM
individually and on behalf of all others
similarly situated,
                                           Hon. Thomas L. Ludington
                  Plaintiffs,              Mag. Judge Patricia T. Morris

      v.

KSE SPORTSMAN MEDIA, INC.,


                  Defendant.

             PLAINTIFFS’ UNOPPOSED MOTION FOR
     PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1596 Filed 08/17/23 Page 2 of 38




      The undersigned counsel certifies that counsel communicated with opposing

counsel, via email on August 15, 2023, explaining the nature of the relief to be

sought by way of this motion and seeking concurrence in the relief; Defendant’s

counsel does not oppose this motion and the relief requested herein.

      For the reasons set forth in Plaintiffs’ Brief in Support of their Unopposed

Motion for Preliminary Approval of Class Action Settlement, Plaintiffs respectfully

request that the Court: (1) grant preliminary approval of the Settlement Agreement;

(2) provisionally certify the settlement class under Fed. R. Civ. P. 23(b)(3) in

connection with the settlement process; (3) appoint E. Powell Miller of The Miller

Law Firm, P.C., Joseph I. Marchese and Philip L. Fraietta of Bursor & Fisher, P.A.,

and Frank S. Hedin and Arun G. Ravindran of Hedin Hall LLP as Class Counsel; (4)

appoint Richard Pratt and Larry Jones as the Class Representatives for the Settlement

Class; and (5) approve the Notice Plan for the Settlement described in the Settlement

Agreement and its Exhibits, as well as the specific Notice of Class Action and

Proposed Settlement (the “Proposed Notice”) and direct distribution of the Proposed

Notice.1




1
     The Settlement Agreement and its exhibits are included in the accompanying
Supporting Brief.

                                         1
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1597 Filed 08/17/23 Page 3 of 38




 Dated: August 17, 2023             Respectfully submitted,

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                                      2
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1598 Filed 08/17/23 Page 4 of 38




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


RICHARD PRATT and LARRY JONES,             Case No. 21-cv-11404-TLL-PTM
individually and on behalf of all others
similarly situated,
                                           Hon. Thomas L. Ludington
                  Plaintiffs,              Mag. Judge Patricia T. Morris

      v.

KSE SPORTSMAN MEDIA, INC.,

                  Defendant.


   BRIEF IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
    PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1599 Filed 08/17/23 Page 5 of 38




                   STATEMENT OF ISSUES PRESENTED

      1.     Does the proposed Settlement Class meet Fed. R. Civ. P. 23’s

requirements for class certification for settlement purposes?

                   Plaintiffs’ Answer: Yes.

      2.     Should Plaintiffs’ Counsel be appointed as Class Counsel?

                   Plaintiffs’ Answer: Yes.

      3.     Should Plaintiffs Richard Pratt and Larry Jones be appointed as the

Class Representatives for the Settlement Class?

                   Plaintiffs’ Answer: Yes.

      4.     Based on an initial evaluation, does the proposed Settlement appear

fair, adequate, and reasonable, such that notice of the Settlement should be

disseminated to the proposed Settlement Class?

                   Plaintiffs’ Answer: Yes.

      5.     Does the proposed Notice Plan satisfy the requirements of Fed. R. Civ.

P. 23 and Due Process?

                   Plaintiffs’ Answer: Yes.




                                          i
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1600 Filed 08/17/23 Page 6 of 38




      CONTROLLING AND MOST APPROPRIATE AUTHORITIES

   • Fed. R. Civ. P. 23

   • Amchem Prods., Inc. v. Windsor, 521 U.S. 591 (1997)

   • Amgen Inc. v. Connecticut Retirement Plans and Trust Funds,
     133 S. Ct. 1884 (2013)

   • Coulter-Owens v. Time, Inc., 308 F.R.D 524 (E.D. Mich. 2015)

   • In re Whirlpool Corp. Front-Loading Washer Prod. Liab. Litig.,
     722 F.3d 838 (6th Cir. 2013)

   • UAW v. Gen. Motors Corp., 497 F.3d 615 (6th Cir. 2007)

   • Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011)




                                      ii
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1601 Filed 08/17/23 Page 7 of 38




                                  TABLE OF CONTENTS

      I.     INTRODUCTION .................................................................................1

      II.    BACKGROUND ...................................................................................3

             A.      Michigan’s Preservation of Personal Privacy Act ...................... 3

             B.      Pre-Filing Investigation .............................................................. 4

             C.      History of the Litigation and Settlement Negotiations ............... 5

      III.   KEY TERMS OF THE SETTLEMENT............................................... 6

      IV.    THE PROPOSED CLASS IS APPROPRIATE FOR
             CERTIFICATION FOR SETTLEMENT PURPOSES ........................ 8

             A.      The Numerosity Requirement Is Satisfied .................................. 9

             B.      The Commonality Requirement Is Satisfied.............................10

             C.      The Typicality Requirement Is Satisfied ..................................11

             D.      The Adequacy Requirement Is Satisfied ..................................12

             E.      The Proposed Settlement Class Meets Rule 23(b)(3)
                     Requirements ............................................................................14

                     1.       Common Questions Predominate ...................................15

                     2.       A Class Action Is a Superior Mechanism.......................16

      V.     PLAINTIFFS’ COUNSEL SHOULD BE APPOINTED CLASS
             COUNSEL………………….. ............................................................17

      VI. PRELIMINARY SETTLEMENT APPROVAL IS APPROPRIATE . 17

             A.      The Rule 23(e)(2) Factors Weigh in Favor of Preliminary
                     Approval....................................................................................18



                                                    iii
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1602 Filed 08/17/23 Page 8 of 38




              B.       The Sixth Circuit’s UAW Factors Weight in Favor of
                       Preliminary Approval................................................................19

                       1.      There is No Risk of Fraud of Collusion .........................19

                       2.      Litigation Through Trial Would be Complex, Costly, and
                               Long ................................................................................20

                       3.      Discovery Has Allowed the Parties to Resolve the Case
                               Responsibly.....................................................................20

                       4.      Plaintiffs Would Face Real Risks if the Case Proceeded
                               ........................................................................................21

                       5.      Proposed Class Counsel and Class Representative
                               Support the Settlement....................................................22

                       6.      The Reaction of Absent Class Members ........................22

                       7.      The Settlement Serves the Public Interest ......................23

      VII. THE NOTICE PLAN SHOULD BE APPROVED IN FORM AND
           SUBSTANCE ......................................................................................24

      VIII. CONCLUSION ...................................................................................25




                                                      iv
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1603 Filed 08/17/23 Page 9 of 38




                                     TABLE OF AUTHORITIES

Cases
Amchem Prods., Inc. v. Windsor,
  521 U.S. 591 (1997) ...................................................................................... passim
Amgen Inc. v. Conn. Retirement Plans and Trust Funds,
  133 S. Ct. 1184 (2013) ............................................................................................9
Beattie v. CenturyTel, Inc.,
  511 F.3d 554 (6th Cir. 2007).................................................................................12
Boelter v. Hearst Commc’ns, Inc.,
  192 F. Supp. 3d 427 (S.D.N.Y. 2016).....................................................................4
Borcea v. Carnival Corp.,
  238 F.R.D. 664 (S.D. Fla. 2006) ...........................................................................20
Coulter-Owens v. Time, Inc.,
  308 F.R.D 524 (E.D. Mich. 2015) ....................................................... 9, 10, 11, 16
Curry v. SBC Commc’ns, Inc.,
  250 F.R.D 301 (E.D. Mich. 2008) ..........................................................................9
Eisen v. Carlisle & Jacquelin,
  417 U.S. 156 (1974) ..............................................................................................24
Gascho v. Global Fitness Holdings, LLC,
  2013 WL 12354005 (S.D. Ohio Sept. 30, 2013) ..................................................13
Gilkey v. Central Clearing Co.,
  202 F.R.D. 515 (E.D. Mich. 2001) .......................................................................11
Horton v. GameStop, Corp.,
  380 F. Supp. 3d 679 (W.D. Mich. 2018) ................................................................4
In re Am. Med. Sys., Inc.,
  75 F.3d 1069 (6th Cir. 1996).............................................................................9, 11
In re Cardizem CD Antitrust Litigation,
  218 F.R.D. 508 (E.D. Mich. 2003) .......................................................................23
In re Flint Water Cases,
  63 F.4th 486 (6th Cir. 2023) .................................................................................13
In re Packaged Ice Antitrust Litig.,
  2010 WL 3070161 (E.D. Mich. Aug. 2, 2010) .....................................................17
In re Whirlpool Corp. Front-Loading Washer Prod. Liab. Litig.,
  722 F.3d 838 (6th Cir. 2013)...................................................................... 9, 10, 16
Int’l Union v. Ford Motor Co.,
  2006 WL 1984363 (E.D. Mich. July 13, 2006) ....................................................12
Kain v. Economist Newspaper NA, Inc.,
  No. 4:21-cv-11807-MFL-CI (E.D. Mich.) ............................................................14



                                                          v
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1604 Filed 08/17/23 Page 10 of 38




 Leonhardt v. AvrinMeritor, Inc.,
   581 F. Supp. 2d 818 (E.D. Mich. 2008) ................................................................19
 Loftus v. Outside Integrated Media, LLC,
   No. 2:21-cv-11809-MAG-DRG (E.D. Mich.) ......................................................14
 Machesney v. Lar-Bev of Howell, Inc.,
   317 F.R.D. 47 (E.D. Mich. 2016) .........................................................................15
 Merenda v. VHS of Michigan, Inc.,
   296 F.R.D. 528 (E.D. Mich. 2013) .......................................................................14
 Moeller v. The Week Publications, Inc.,
   -- F. Supp. 3d. --, 2023 WL 119648 (E.D. Mich. Jan. 6, 2023)..............................8
 Parker v. Time Warner Ent. Co., L.P.,
   239 F.R.D. 318 (E.D.N.Y. 2007) ..........................................................................10
 Powers v. Hamilton Cty. Pub. Def. Comm’n,
   501 F.3d 592 (6th Cir. 2007).................................................................................15
 Sheick v. Auto. Component Carrier, LLC,
   2010 WL 3070130 (E.D. Mich. Aug. 2, 2010) .....................................................19
 Strano v. Kiplinger Washington Eds., Inc.,
   -- F. Supp. 3d --, 2023 WL 119647 (E.D. Mich. Jan. 6, 2023)..................... passim
 UAW v. Gen. Motors Corp.,
   497 F.3d 615 (6th Cir. 2007)......................................................................... passim
 Vassalle v. Midland Funding LLC,
   708 F.3d 747 (6th Cir. 2013).................................................................................12
 Wal-Mart Stores, Inc. v. Dukes,
   131 S. Ct. 2541 (2011) ................................................................................... 10, 15
 Young v. Nationwide Mut. Ins. Co.,
   693 F.3d 532 (6th Cir. 2010).................................................................................16




                                                         vi
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1605 Filed 08/17/23 Page 11 of 38




 Statutes
 M.C.L. § 445.1712 .....................................................................................................3
 M.C.L. § 445.1715 .....................................................................................................3
 Michigan Preservation of Personal Privacy Act ........................................................1
 28 U.S.C. § 1715 ......................................................................................................25

 Rules
 Fed. R. Civ. P. 12(b) ..................................................................................................5
 Fed. R. Civ. P. 23 .....................................................................................................24
 Fed. R. Civ. P. 23(a)...................................................................................... 9, 14, 15
 Fed. R. Civ. P. 23(a)(1) ..............................................................................................9
 Fed. R. Civ. P. 23(a)(2) ............................................................................................10
 Fed. R. Civ. P. 23(a)(3) ............................................................................................11
 Fed. R. Civ. P. 23(a)(4) ............................................................................................12
 Fed. R. Civ. P. 23(b) ................................................................................................14
 Fed. R. Civ. P. 23(b)(3).................................................................................... passim
 Fed. R. Civ. P. 23(c)(2)(B) ......................................................................................24
 Fed. R. Civ. P. 23(e)(1)(B) ......................................................................................24
 Fed. R. Civ. P. 23(e)(2) ............................................................................................18
 Fed. R. Civ. P. 23(f) .................................................................................................22
 Fed. R. Civ. P. 23(g)(1)(A)(i)–(iv) ..........................................................................17
 Fed. R. Civ. P. 23(g)(1)(B) ......................................................................................17
 Fed. R. Civ. P. 26 .............................................................................................. 5, 6, 7




                                                            vii
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1606 Filed 08/17/23 Page 12 of 38




 I. INTRODUCTION
       The Settlement negotiated here by Plaintiffs and proposed Class Counsel

 (“Class Counsel”) represents the best per-class member recovery ever achieved at

 settlement in a case brought under the Michigan Preservation of Personal Privacy

 Act (the “PPPA”), 1 by a wide margin. Pursuant to the Settlement Agreement (the

 “SA,” a copy of which is attached as Exhibit 1 to Exhibit A here), Defendant has

 agreed to pay $9,500,000 to establish an all-cash, non-reversionary Settlement Fund

 (“SF”), equating to a per-Class Member aggregate recovery of $655. After all Court-

 approved fees and expenses are paid to the Settlement Administrator, Class Counsel,

 and the Class Representatives from the Settlement Fund, every Settlement Class

 Member (“SCM”) (except for those who request for exclusion from the Settlement)

 will automatically receive (i.e., without having to file a claim form) a pro rata cash

 payment of approximately $420 if the Settlement obtains final approval by the Court.

 The Settlement also provides meaningful prospective relief by requiring Defendant

 to refrain, in perpetuity, from disclosing to any third party the subscription

 information of any of the Michigan-based subscribers to any of its publications.

 Thus, if approved, the Settlement will provide meaningful monetary and non-

 monetary relief to all SCMs, in a timely and streamlined manner.


 1
       The version of the PPPA at issue in this case is found at H.B. 5331, 84th Leg.
 Reg. Sess., P.A. No. 378, §§ 1-4 (Mich. 1988), id. § 5, added by H.B. 4694, 85th
 Leg. Reg. Sess., P.A. No. 206, § 1 (Mich. 1989).

                                           1
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1607 Filed 08/17/23 Page 13 of 38




       The Settlement is the product of extensive litigation and contentious arm’s-

 length negotiations between the Parties (including all-day mediation sessions

 overseen by former federal judges: the Hon. Wayne R. Andersen (Ret.), the Hon.

 James F. Holderman (Ret.), and the Hon. Gerald E. Rosen (Ret.)).

       On a dollars-per-class-member basis, the Settlement outperforms all prior

 PPPA settlements by a wide margin. Moreover, unlike many prior PPPA settlements,

 the Settlement here does not require SCMs to submit claim forms, and instead

 provides automatic cash payments to all 14,503 SCMs 2 (except for any who choose

 to exclude themselves); thus, upon final approval, each SCM will receive a cash

 payment of approximately $420, far exceeding the per-class member recovery in

 previous PPPA settlements. The automatic relief secured by the Settlement—with

 the monetary relief paid entirely by Defendant, without any contributing insurance

 coverage—provides fair, reasonable, and adequate relief to the Settlement Class, and

 its terms and notice procedures readily satisfy due process and the procedural

 requisites of Rule 23.

       Accordingly, the Court should have no hesitation granting preliminary

 approval here, and Plaintiffs respectfully request that the Court (1) grant preliminary

 approval of the Settlement Agreement; (2) provisionally certify the Settlement Class



 2
       Plaintiffs can submit the full list of Class members for an in-camera review
 upon request of the Court.

                                           2
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1608 Filed 08/17/23 Page 14 of 38




 under Rule 23(b)(3); (3) appoint E. Powell Miller of The Miller Law Firm, P.C.,

 Joseph I. Marchese and Philip L. Fraietta of Bursor & Fisher, P.A., and Frank S.

 Hedin and Arun G. Ravindran of Hedin Hall LLP as Class Counsel; (4) appoint

 Richard Pratt and Larry Jones as Class Representatives for the Settlement Class; (5)

 approve the Settlement’s Notice Plan, described in the Settlement Agreement and its

 Exhibits, as well as the specific Notice of Class Action and Proposed Settlement

 (“Proposed Notice”), 3 and direct distribution of the Proposed Notice; and (6)

 schedule a final Fairness Hearing for the Court to hear any objections to the

 Settlement and determine whether the Settlement warrants final approval.

 II. BACKGROUND
     A. Michigan’s Preservation of Personal Privacy Act
         The Michigan legislature passed the PPPA to preserve personal “privacy with

 respect to the purchase, rental, or borrowing of written materials.” Complaint (ECF

 No. 1) (“Compl.”). As such, the PPPA (as it existed until 7/30/16) provides that:

               a person, or an employee or agent of the person, engaged
               in the business of selling at retail . . . books or other written
               materials . . . shall not disclose to any person, other than
               the customer, a record or information concerning the
               purchase . . . of those materials by a customer that indicates
               the identity of the customer.

 M.C.L. § 445.1712. It authorizes civil actions and provides for statutory damages of

 $5,000, plus costs and reasonable attorney fees. See M.C.L. § 445.1715.

 3
         These are attached as Exhibits B‒D to the Settlement Agreement.

                                              3
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1609 Filed 08/17/23 Page 15 of 38




       In May 2016, the Michigan legislature amended the PPPA effective 7/31/16,

 but this does not apply retroactively to claims accruing prior to the effective date.

 See Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 439‒41 (S.D.N.Y. 2016)

 (“[T]he amendment to the [PPPA] does not apply to Plaintiffs’ claims, and the Court

 will assess the sufficiency of those claims under the law as it was when Plaintiffs’

 claims accrued.”) (citations omitted herein unless noted). Because the claims alleged

 herein accrued, and thus vested, prior to the 7/31/16 effective date of the amended

 version of the PPPA, the pre-amendment version of the PPPA applies in this case.

 See Horton v. GameStop, Corp., 380 F. Supp. 3d 679, 683 (W.D. Mich. 2018).

  B. Pre-Filing Investigation
       Plaintiffs’ counsel conducted pre-filing investigations concerning every

 aspect of the factual and legal issues here—these extensive efforts included:

    • Researching the nature of Defendant’s business, its practices of selling
      magazines, consumer-privacy policies, and public statements concerning the
      same;

    • Interviewing numerous individuals in Michigan who subscribed to
      Defendant’s publications in 2015 and 2016, including about their process of
      purchasing a subscription and any disclosures they received or agreed to
      during the purchase process;

    • Researching and analyzing Defendant’s list rental and other disclosure
      practices, including data cards and other public information available online
      concerning the practices during the relevant 2015-2016 timeframe;

    • Analyzing versions of Defendant’s Privacy Policy, Terms of Service, and
      other public documents on its websites during the relevant time period;



                                          4
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1610 Filed 08/17/23 Page 16 of 38




      • Researching the relevant law and assessing the merits of a potential PPPA
        claim against Defendant and defenses that Defendant might assert thereto;

      • Investigating Defendant’s financial condition to assess the likelihood of
        ultimately recovering a class-wide statutory damages award from it; and

      • Performed extensive legal research and analysis concerning the applicable
        limitation period for a PPPA claim, and analyzing the arguments both for and
        against a six-year period.

 See Declaration of E. Powell Miller in Support of Plaintiffs’ Unopposed Motion For

 Preliminary Approval (“Decl.”) (Exhibit A hereto) ¶ 5. As a result, Plaintiffs’

 counsel developed a viable theory of liability for a PPPA claim against Defendant

 and prepared a thorough Complaint against Defendant. Id. ¶ 6.

     C. History of the Litigation and Settlement Negotiations
         On June 15, 2021, Plaintiffs filed the Class Action Complaint against

 Defendant. Compl., ECF No. 1. Plaintiffs allege that before July 30, 2016, Defendant

 disclosed information related to its customers’ magazine subscription histories and

 personal reading habits without their consent in violation of the PPPA. Id. ¶¶ 1‒2,

 5‒8, 42‒49.

         From the start, the Parties engaged in direct communication, and per Rule 26,

 discussed early resolution. See Decl. ¶ 7. To that end, the Parties agreed to engage

 in mediative efforts.4 Id. The Parties went through an extensive settlement process


 4
       After an unsuccessful mediation, Defendant filed a motion to dismiss pursuant
 to Fed. R. Civ. P. 12(b)(1) and (b)(6), arguing, inter alia, that Plaintiffs’ claims were
 time-barred by a three-year statute of limitations and that Plaintiffs lack Article III

                                            5
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1611 Filed 08/17/23 Page 17 of 38




 involving several mediations with different mediators. Id. Throughout the process,

 Defendant produced information to Plaintiffs’ counsel concerning class size,

 Defendant’s financial condition, and Defendant’s ability to withstand a class-wide

 judgment. Id. ¶ 8. The Parties also engaged in written and document discovery,

 which included the production of thousands of pages of documents, numerous third-

 party subpoenas, and a motion to compel (ECF No. 40). Id. The information obtained

 by Plaintiff was then subjected to a detailed analysis by a forensic accountant hired

 by Class Counsel. Id. Ultimately, the Parties, with the assistance of Judges Rosen

 and Holderman, reached agreement on a framework for a class-wide resolution of

 the case, which they memorialized into a term sheet on April 26, 2023. Id. ¶ 9. In

 the months following, the Parties negotiated and finalized the full-form SA (attached

 to the Decl. as Exhibit 1), conducted a competitive bidding process and selected a

 proposed Settlement Administrator, and worked together to finalize the Settlement

 Class List, which included the assistance of Plaintiffs’ database management expert.

 Id. ¶ 10.

 III. KEY TERMS OF THE SETTLEMENT
        Class Definition. The “Settlement Class” is:

              The 14,503 direct purchasers whose information was
              included on the lists obtained in discovery that were

 standing to pursue their claims. ECF No. 17 (Nov. 24, 2021). On February 15, 2022,
 after full briefing, the Court denied Defendant’s motion to dismiss in its entirety.
 ECF No. 24.

                                          6
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1612 Filed 08/17/23 Page 18 of 38




              transmitted to third parties between June 16, 2015 and July
              30, 2016, and thus that have standing.

 SA ¶ 1.31 (full exclusion details listed therein). These individuals are reflected on

 the Class List, attached to the SA as Exhibit A thereto.

       Monetary Relief. Defendant shall establish a $9,500,000 non-reversionary

 SF from which all SCMs who do not exclude themselves shall automatically receive

 a pro rata cash payment of roughly $420 after payment of all Court-approved notice

 and administrative expenses to the Settlement Administrator, attorneys’ fees to

 proposed Class Counsel, and service awards to the proposed Class Representatives.

 SA ¶¶ 1.33, 2.1. No portion of the SF will revert back to Defendant. Id. ¶ 2.1(h).

       Prospective Relief. As part of the Settlement, Defendant will refrain, in

 perpetuity, from disclosing to any third party the subscription information of any of

 the Michigan-based subscribers to any of its publications. Id. ¶ 2.2.

       Release. In exchange for the $9,500,000 cash payment, Defendant (and all

 “Released Parties” — defined in SA ¶ 1.27) will receive a full release of all claims

 arising out of or related to Defendant’s disclosure of its Michigan customers’

 magazine subscription information. See SA ¶¶ 1.26‒1.28 for full release language.

       Notice and Administration Expenses. The SF will be used to pay the cost of

 sending the Notice set forth in the SA and any other notice as required by the Court,

 as well as all costs of administration of the Settlement. SA ¶¶ 1.30, 1.33.

       Service Award. In recognition of their efforts on behalf of the Settlement

                                           7
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1613 Filed 08/17/23 Page 19 of 38




 Class (“SC”), Defendant agrees that Plaintiffs may receive, subject to Court

 approval, a service award of $1,500 each from the SF, as appropriate compensation

 for their time, effort, and leadership as class representatives. SA ¶ 8.3; Decl. ¶¶ 21‒

 24 (detailing same).

       The requested awards are proportional to those preliminarily approved by this

 Court in other PPPA cases. See, e.g., Strano v. Kiplinger Washington Eds., Inc., --

 F. Supp. 3d --, 2023 WL 119647, at *10 (E.D. Mich. Jan. 6, 2023) (preliminarily

 approving $1,000 award, each SCM to receive roughly $248); Moeller v. The Week

 Publications, Inc., -- F. Supp. 3d. --, 2023 WL 119648, at *9 (E.D. Mich. Jan. 6,

 2023) (same).

       Attorneys’ Fees and Expenses. As part of the SA, Defendant has agreed that

 Class Counsel are entitled to reasonable attorneys’ fees in an amount to be

 determined by the Court by petition. Class Counsel has agreed to limit its request for

 fees, costs, and expenses to 35% of the SF. SA ¶¶ 1.33, 8.1; see also infra § VI.A

 (listing PPPA cases where fee requests of 35% or more were approved).

 IV. THE PROPOSED CLASS IS APPROPRIATE FOR CERTIFICATION
     FOR SETTLEMENT PURPOSES

       Before granting preliminary approval of the proposed Settlement, the Court

 must determine that the proposed settlement class is appropriate for certification. See

 Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997). Class certification is

 proper if the proposed class satisfies the numerosity, commonality, typicality, and


                                           8
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1614 Filed 08/17/23 Page 20 of 38




 adequacy of representation requirements. Fed. R. Civ. P. 23(a); see also Amgen Inc.

 v. Conn. Ret. Plans and Tr. Funds, 568 U.S. 455, 460 (2013). Because certification

 is sought under Rule 23(b)(3), Plaintiffs must demonstrate that common questions

 of law or fact predominate over individual issues and that a class action is the

 superior device to adjudicate the claims. Amchem, 521 U.S. at 615‒16. District

 courts are given broad discretion to determine whether certification of a class action

 is appropriate. In re Whirlpool Corp. Front-Loading Washer Prod. Liab. Litig., 722

 F.3d 838, 850 (6th Cir. 2013). As explained below, the proposed Settlement Class

 satisfies all of the Rule 23(a) and 23(b)(3) prerequisites, and thus, should be certified.

       In the only PPPA case to reach decision on a contested class certification

 motion, Judge Steeh granted certification. See Coulter-Owens v. Time, Inc., 308

 F.R.D 524 (E.D. Mich. 2015). And similar classes have been certified for settlement

 purposes in other PPPA cases. The proposed SC here likewise should be certified.

  A. The Numerosity Requirement Is Satisfied
       Numerosity is met when joining a large number of plaintiffs in one case would

 be impracticable. Fed. R. Civ. P. 23(a)(1); In re Am. Med. Sys., Inc., 75 F.3d 1069,

 1079 (6th Cir. 1996). Though there is no fixed number determining impracticability,

 “[i]n most cases, a class in excess of forty members will do.” Curry v. SBC

 Commc’ns, Inc., 250 F.R.D 301, 310 (E.D. Mich. 2008). Only a reasonable estimate

 is required. McDonald v. Asset Acceptance LLC, 296 F.R.D. 513, 520 (E.D. Mich.



                                             9
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1615 Filed 08/17/23 Page 21 of 38




 2013). Here, there are 14,503 persons in the SC. Decl. ¶ 11. Thus, joinder would be

 impractical and, thus, numerosity is satisfied.

  B. The Commonality Requirement Is Satisfied
       Commonality is satisfied under Rule 23(a)(2) when there are questions of law

 or fact common to the class—the resolution of which will bring a class-wide

 resolution of the claims. Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551

 (2011). And even a single question will do. See Whirlpool, 722 F.3d at 582‒83.

       Here, Plaintiffs allege that all class members’ claims hinge on two common

 questions, one factual and one legal: (1) whether Defendant disclosed its customers’

 protected personal reading information to third parties between 6/16/15 and 7/30/16;

 and (2) whether such disclosures violated the PPPA. Plaintiffs contend that both can

 be answered on a class-wide basis with common proof which will drive the litigation

 forward. See, e.g., Parker v. Time Warner Ent. Co., L.P., 239 F.R.D. 318, 329

 (E.D.N.Y. 2007) (in a case about disclosure of plaintiff’s statutorily-protected

 information without proper notification, commonality found where claims were

 based on same legal theory and factual question). Numerous courts have certified

 PPPA, finding commonality satisfied. See, Coulter-Owens, 308 F.R.D. at 532‒34

 (litigation found to be “driven by issues that are common” to the entire class).

       Given that there are multiple questions of law and fact common to members

 of the Settlement Class, the commonality requirement is satisfied.



                                           10
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1616 Filed 08/17/23 Page 22 of 38




  C. The Typicality Requirement Is Satisfied
       Typicality requires that a class representative has claims that are typical of

 those of other class members. Fed. R. Civ. P. 23(a)(3). “Typicality determines

 whether a sufficient relationship exists between the injury to the named plaintiff and

 the conduct affecting the class, so that the court may properly attribute a collective

 nature to the challenged conduct.” Am. Med. Sys., 75 F.3d at 1082. “Typicality may

 be presumed when the plaintiff’s claim arises from the same event or practice or

 course of conduct that gives rise to the claims of other class members.” Gilkey v.

 Cent. Clearing Co., 202 F.R.D. 515, 524 (E.D. Mich. 2001). In other words, when

 the basis of the suit is the defendant’s systematic business practices towards the

 named plaintiff and the members of the proposed class, typicality is satisfied.

       Plaintiffs allege that Defendant’s disclosure of their subscription information

 was part of its standard business practice of disclosing its customers’ subscription

 information to third parties without consent. Compl. ¶¶ 1‒2, 5‒8, 42‒49. And this

 was true for that of all SCMs, who had their information disclosed to the same third

 parties and for the same purpose—and that these practices thus violated the PPPA.

 And to redress such violations, the PPPA authorizes each SCM to recover the same

 statutorily-set damages ($5,000). Thus, Plaintiffs’ pursuit of their own claims here

 will necessarily advance the interests of the SC, satisfying the typicality requirement.

 See, e.g., Coulter-Owens, 308 F.R.D. at 534‒35; Strano, 2023 WL 119647, at *3.



                                           11
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1617 Filed 08/17/23 Page 23 of 38




  D. The Adequacy Requirement Is Satisfied
       Class representatives under Rule 23(a)(4) must fairly and adequately protect

 the interests of the class. In order to do so, “(1) the representatives must have

 common interests with unnamed members of the class, and (2) it must appear that

 the representatives will vigorously prosecute the interests of the class through

 qualified counsel.” Int’l Union v. Ford Motor Co., 2006 WL 1984363, at *19 (E.D.

 Mich. July 13, 2006). The representative must be part of the class, possess the same

 interest, have suffered the same injury, and seek the same type of relief as other class

 members. See Beattie v. CenturyTel, Inc., 511 F.3d 554, 562 (6th Cir. 2007).

       In this case, the Complaint alleges that Plaintiffs—like each SCM—purchased

 a magazine subscription from Defendant while residing in Michigan and had their

 subscription information disclosed to third parties without their consent. Compl. ¶¶

 9‒10, 42‒49. Thus, Plaintiffs and SCMs have the exact same interest in recovering

 the statutory damages to which they are entitled under the PPPA. As such, Plaintiffs

 do not have any interest antagonistic to those of the proposed Settlement Class.

       Likewise, proposed Class Counsel have extensive experience in litigating

 similar class actions. Decl. ¶¶ 14‒16. They regularly engage in consumer privacy

 cases, have the resources necessary to prosecute this case, and have frequently been

 appointed lead class counsel. Id.; see Firm Resumes (attached to Decl. as Exs. 2‒4).




                                           12
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1618 Filed 08/17/23 Page 24 of 38




       Class Counsel have devoted substantial resources to the prosecution of this

 action by investigating Plaintiffs’ claims and that of the SC, obtaining, reviewing

 and analyzing discovery, retaining experts to analyze the voluminous data in this

 case and to analyze Defendant’s financial condition, participating in multiple

 mediations, and ultimately, negotiating a settlement that provides the best ever per-

 class member recovery in a PPPA case, despite the substantial litigation risks that

 were present. Decl. ¶¶ 4‒13. In sum, proposed Class Counsel have vigorously

 prosecuted this action and will continue to work diligently on behalf of the SC

 throughout the settlement administration process. Id.

       Plaintiffs and proposed Class Counsel are mindful that this Court has

 previously held that Rule 23(g) requires the appointment of only one firm or attorney

 to serve as class counsel. See, e.g., Strano, 2023 WL 119647, at *5. Plaintiffs and

 proposed Class Counsel respectfully submit that the Court may appoint multiple

 firms to serve as Class Counsel. Although it appears that the Sixth Circuit has not

 directly addressed this question, it has affirmed class certification orders, including

 in the settlement context, appointing multiple firms to serve as class counsel. See,

 e.g., Gascho v. Global Fitness Holdings, LLC, 2013 WL 12354005, at *2 (S.D. Ohio

 Sept. 30, 2013) (appointing multiple firms as class counsel at preliminary approval),

 aff’d, 822 F.3d 269 (6th Cir. 2016) (affirming final approval); In re Flint Water

 Cases, 63 F.4th 486, 491 (6th Cir. 2023) (affirming fee award where “the district


                                           13
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1619 Filed 08/17/23 Page 25 of 38




 court appointed Co-Lead Class Counsel”). And in this case in particular, where each

 of the proposed Class Counsel’s law firms expended roughly the same amount of

 time developing, litigating, and resolving this case, see Decl. ¶ 13, appointment of

 all of the proposed Class Counsel to represent the SC for settlement purposes is

 warranted. See, e.g., Kain v. Economist Newspaper NA, Inc., No. 4:21-cv-11807-

 MFL-CI (E.D. Mich.) (proposed Class Counsel here all appointed as class counsel

 in PPPA case); Loftus v. Outside Integrated Media, LLC, No. 2:21-cv-11809-MAG-

 DRG (E.D. Mich.) (same). Nonetheless, should the Court prefer to appoint one firm

 as Class Counsel, Plaintiffs and their counsel respectfully submit that E. Powell

 Miller of The Miller Law Firm, P.C. should be selected given his familiarity with

 Michigan practice and his extensive experience litigating class actions in this

 District.

        Because Plaintiffs and proposed Class Counsel have demonstrated their

 commitment to representing the Settlement Class and neither have interests

 antagonistic to the Settlement Class, the adequacy requirement is satisfied.

  E. The Proposed Settlement Class Meets Rule 23(b)(3) Requirements
        After meeting the prerequisites of Rule 23(a), a plaintiff seeking class

 certification must also show that the action qualifies under at least one of the

 categories outlined in Rule 23(b). Fed. R. Civ. P. 23(b); see also Merenda v. VHS of

 Michigan, Inc., 296 F.R.D. 528, 536 (E.D. Mich. 2013). Here, Plaintiffs seek



                                          14
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1620 Filed 08/17/23 Page 26 of 38




 certification under Rule 23(b)(3), which requires that (i) common questions of law

 and fact predominate over individualized ones, and that (ii) a class action is superior

 to the other available methods for the fair and efficient adjudication of the

 controversy. Fed. R. Civ. P. 23(b)(3). As explained below, the proposed Settlement

 Class meets these requirements.

   1. Common Questions Predominate

       Rule 23(b)(3)’s predominance requirement focuses on whether the

 defendant’s liability is common enough to be resolved on a class basis, Dukes, 564

 U.S. at 349‒60, and whether the proposed class is “sufficiently cohesive to warrant

 adjudication by representation.” Amchem, 521 U.S. at 623. The Rule 23(b)(3)

 predominance requirement is akin to the commonality requirement Rule 23(a) “in

 that both require that common questions exist, but [Rule 23](b)(3) contains the more

 stringent requirement that common issues ‘predominate’ over individual issues.”

 Machesney v. Lar-Bev of Howell, Inc., 317 F.R.D. 47, 61 (E.D. Mich. 2016). In other

 words, where commonality is satisfied when there is a single factual or legal question

 common to the class, the “predominance requirement is met if this common question

 is at the heart of the litigation.” Powers v. Hamilton Cty. Pub. Def. Comm’n, 501

 F.3d 592, 619 (6th Cir. 2007). As such, “cases alleging a single course of wrongful

 conduct are particularly well-suited to class certification.” Id.

       Here, Defendant’s alleged common course of conduct presents multiple


                                           15
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1621 Filed 08/17/23 Page 27 of 38




 questions of law and fact that are central to liability, predominating over any issues

 affecting individual class members. Thus, courts have regularly found common

 questions to predominate over individual issues in the course of approving PPPA

 settlements. See, e.g., Coulter-Owens, 308 F.R.D. at 536. Defendant engaged in a

 single course of conduct with respect to all members of the SC, so their claims “will

 prevail or fail in unison”—thus, predominance is met. Whirlpool, 722 F.3d at 859.

   2. A Class Action Is a Superior Mechanism
       A class action is also the superior means of adjudicating this case because it

 “achieve[s] economies of time, effort and expense and promote[s] . . . uniformity of

 decision as to persons similarly situated.” Amchem, 521 U.S. at 615. A class action

 is preferred over small individual suits because it provides a mechanism through

 which individuals who may not otherwise have the opportunity to seek redress

 through litigation. Young v. Nationwide Mut. Ins. Co., 693 F.3d 532, 545 (6th Cir.

 2012). Claims alleging a standard course of conduct are particularly well-suited for

 class certification because they facilitate efficiency and uniformity. Id. As held in

 Coulter-Owens, “it makes sense to proceed as a class action and address the issues

 one time rather than [in] potentially hundreds of separate cases.” 308 F.R.D. at 537.

       Here, all questions necessary to determine violation of the PPPA are common

 to all SCMs. As such, a “class action is the best way to vindicate the Class’s rights”

 and “superiority is satisfied.” Strano, 2023 WL 119647, at *4.



                                          16
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1622 Filed 08/17/23 Page 28 of 38




 V. PLAINTIFFS’ COUNSEL SHOULD BE APPOINTED CLASS COUNSEL
       Under Rule 23(g)(1)(B), “a court that certifies a class must appoint counsel

 … [to] fairly and adequately represent the interests of the class.” The Court considers

 proposed class counsel’s: (1) work in identifying or investigating the potential claim,

 (2) experience in handling class actions, other complex litigation, and the types of

 claims asserted in the action, (3) knowledge of the applicable law, and (4) resources

 that it will commit to representing the class. Fed. R. Civ. P. 23(g)(1)(A)(i)–(iv).

       As discussed, proposed Class Counsel have extensive experience in

 prosecuting consumer class actions in general, and privacy class actions specifically.

 See § IV.D, supra. And as a result of their zealous efforts in this case, they secured

 the best-ever per class member recovery in this PPPA case. Thus, the Court should

 formally appoint proposed Class Counsel as Class Counsel.

 VI. PRELIMINARY SETTLEMENT APPROVAL IS APPROPRIATE
       Settlement of class action suits is favored. Newberg on Class Actions § 11.41

 (4th ed. 2002) (“The compromise of complex litigation is encouraged by the courts

 and favored by public policy.”). The first step is a “preliminary, pre-notification

 hearing to determine whether the proposed settlement is within the range of possible

 approval.” In re Packaged Ice Antitrust Litig., 2010 WL 3070161, at *4 (E.D. Mich.

 Aug. 2, 2010). A court makes an “initial evaluation” of the fairness of the proposed

 settlement. Manual for Complex Litigation § 21.632 (4th ed. 2004).



                                           17
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1623 Filed 08/17/23 Page 29 of 38




       Rule 23(e)(2) provides factors for the Court to determine if a settlement is

 “fair, reasonable, and adequate,” examining whether: (A) class representatives and

 class counsel have adequately represented the class; (B) the proposal was negotiated

 at arm’s length; (C) the relief provided for the class is adequate, reviewing: (i) the

 costs, risks, and delay of trial and appeal; (ii) the effectiveness of any proposed

 method of distributing relief to the class, including the processing of class-member

 claims; (iii) the terms of any proposed attorney’s fee, including timing of payment;

 and (iv) any agreement required to be identified under Rule 23(e)(2); and (D) the

 proposal treats class members equitably relative to each other. Fed. R. Civ. P.

 23(e)(2).

       In addition, the Sixth Circuit has laid out its own factors to consider. See UAW

 v. Gen. Motors Corp., 497 F.3d 615, 631 (6th Cir. 2007). They are: “(1) the risk of

 fraud or collusion; (2) the complexity, expense and likely duration of the litigation;

 (3) the amount of discovery engaged in by the parties; (4) the likelihood of success

 on the merits; (5) the opinions of class counsel and class representatives; (6) the

 reaction of absent class members; and (7) the public interest.” Id.

  A. The Rule 23(e)(2) Factors Weigh in Favor of Preliminary Approval

       This Settlement easily satisfies the Rule 23(e)(2) factors.

       First, Plaintiffs and Class Counsel have adequately represented the class,

 securing the best-ever per-class member recovery. See Introduction, supra.



                                          18
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1624 Filed 08/17/23 Page 30 of 38




       Second, the Settlement was negotiated at arm’s-length through multiple

 former federal judges, including former Chief Judge Rosen, as mediator after

 exchanging information sufficient to assess the strengths and weaknesses. See supra.

       Third, the relief is adequate. The SA provides for the receipt of cash payments

 of roughly $420 for SCMs without even filing a claim form as well as robust

 prospective relief. SA ¶¶ 2.1‒2.2. Attorneys’ fees and costs are consistent with other

 PPPA settlements in this District. See supra.

       Fourth, the proposed Settlement treats SCMs equitably to each other as every

 SCM will receive an identical pro rata cash payment under the Settlement. SA ¶ 2.1.

       Finally, all terms affecting the SC are contained within the SA.

 B. The Sixth Circuit’s UAW Factors Weigh in Favor of Preliminary Approval
       All seven UAW factors favor approval or, at least, are neutral.

   1. There Is No Risk of Fraud or Collusion.
       The first UAW factor is “the risk of fraud or collusion.” UAW, 497 F.3d at

 631. “Courts presume the absence of fraud or collusion in class action settlements.”

 Leonhardt v. AvrinMeritor, Inc., 581 F. Supp. 2d 818, 838 (E.D. Mich. 2008). Here,

 a non-collusive settlement was reached through arm’s-length negotiations via

 multiple neutrals. See Sheick v. Auto. Component Carrier, LLC, 2010 WL 3070130,

 at *13 (E.D. Mich. Aug. 2, 2010) (“[N]egotiations of the Settlement Agreement were

 conducted at arm’s-length by adversarial parties and experienced counsel, which



                                          19
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1625 Filed 08/17/23 Page 31 of 38




 itself is indicative of fairness, reasonableness, and adequacy.”).

   2. Litigation Through Trial Would Be Complex, Costly, and Long.
       The second UAW factor is “the complexity, expense and likely duration of the

 litigation.” UAW, 497 F.3d at 631. Most class actions are inherently risky, and thus

 “[t]he obvious costs and uncertainty of such lengthy and complex litigation weigh

 in favor of settlement.” UAW, 2006 WL 891151, at *17.

       Here, the Parties engaged in dispositive motion practice, discovery, and held

 multiple private mediations. Decl. ¶¶ 7‒9. Absent a settlement, further discovery,

 dispositive motions, and depositions would follow. Defendant indicated that it would

 continue to assert numerous defenses to both class certification and the merits,

 including that the PPPA does not prohibit its conduct as alleged and is an

 impermissible special law. Class Counsel is also aware that Defendant would

 prepare a competent defense at trial and would appeal any adverse result at trial (and

 any order certifying a class). Id. ¶ 19. This would be lengthy and expensive litigation.

       Rather than pursuing protracted and uncertain litigation, Plaintiffs and their

 counsel negotiated a SA that provides immediate, certain, and meaningful relief. The

 second factor weighs in favor of finding the Settlement fair, reasonable, and

 adequate. See Borcea v. Carnival Corp., 238 F.R.D. 664, 674 (S.D. Fla. 2006).

   3. Discovery Has Allowed the Parties to Resolve the Case Responsibly.

       The third factor is “the amount of discovery engaged in by the parties.” UAW,



                                           20
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1626 Filed 08/17/23 Page 32 of 38




 497 F.3d at 631. Prior to filing, Plaintiffs’ counsel conducted a wide-ranging

 investigation into Defendant’s practices, described supra, and obtained several key

 documents evidencing those practices. See Decl. ¶ 5. Moreover, during formal

 discovery and in settlement negotiations, Plaintiffs obtained wide-ranging discovery

 from Defendant and third parties on issues pertaining to class certification, the

 merits, and Defendant’s ability to withstand a classwide judgment. Id. ¶¶ 7‒9.

       This information and material enabled Plaintiffs and their counsel to properly

 assess the strengths and weaknesses of the claims and defenses and to negotiate a

 Settlement that is fair, reasonable, and adequate. Id. ¶¶ 8‒20. Class Counsel’s

 experience in similar cases, and the efforts made by counsel on both sides, confirms

 that they are sufficiently well apprised of the facts here and the viability of their

 respective cases to make an intelligent analysis of the proposed settlement.

 Accordingly, the third factor weighs in favor of finding the Settlement fair,

 reasonable and adequate.

   4. Plaintiffs Would Face Real Risks if the Case Proceeded.

       The fourth UAW factor is “the likelihood of success on the merits.” UAW, 497

 F.3d at 631. Although Plaintiffs believe their case is strong, it is not without risk.

 Defendant has made clear that, absent a settlement, it will defend the case vigorously

 and move for summary judgment and contest class certification. See § VI.B.2, supra.

 The Court has not yet certified the proposed Class and the Parties anticipate that such



                                           21
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1627 Filed 08/17/23 Page 33 of 38




 a determination would only be reached after lengthy briefing. Defendant would

 likely argue that individual questions preclude class certification, that a class action

 is not a superior method, and that a trial would not be manageable. And even if the

 Court certified a class, Defendant would likely challenge certification through a Rule

 23(f) application and then move to decertify. Moreover, even if Plaintiffs survived

 all of those obstacles, they faced significant risk in recovering a classwide judgment.

       The risks of losing on the merits, of losing class certification, of maintaining

 certification through trial, and of collecting on any classwide judgment, were all

 significant hurdles to obtaining classwide relief in this case. The Settlement

 eliminates this risk, as well as the attendant expense and delay. Accordingly, the

 fourth factor also favors preliminary approval.

   5. Proposed Class Counsel and Class Representative Support the Settlement

       The fifth UAW factor is “the opinions of class counsel and class

 representatives.” UAW, 497 F.3d at 631. “The endorsement of the parties’ counsel

 is entitled to significant weight, and supports the fairness of the class settlement.”

 UAW, 2008 WL 4104329, at *26. Here, both proposed Class Counsel and the Class

 Representatives support the Settlement. See Decl. ¶¶ 18, 20. This UAW factor,

 therefore, favors preliminary approval.

   6. The Reaction of Absent Class Members.

       The sixth UAW factor is “the reaction of absent class members.” UAW, 497



                                           22
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1628 Filed 08/17/23 Page 34 of 38




 F.3d at 631. Notice has not yet been disseminated, and the SC has accordingly not

 yet had an opportunity to voice any opposition to (or support for) the Settlement.

 Nonetheless, Plaintiffs and Class Counsel strongly support the Settlement, which

 they believe is fair, reasonable, and adequate and in the best interest of the SC.

 Accordingly, the sixth factor weighs in favor of preliminary approval.

   7. The Settlement Serves the Public Interest.
       The seventh and final UAW factor is “the public interest.” UAW, 497 F.3d at

 631. Settlements may serve the public interest by advancing a statute’s goals or by

 conserving judicial resources. See In re Cardizem CD Antitrust Litigation, 218

 F.R.D. 508, 530 (E.D. Mich. 2003). The Settlement here accomplishes both.

       First, “[t]here is a strong public interest in encouraging settlement of complex

 litigation and class action suits because they are notoriously difficult and

 unpredictable and settlement conserves judicial resources.” Id. “Settling this

 [14,503]-person class action would further the public interest by providing relief for

 the entire Class and conserving judicial resources.” Strano, 2023 WL 119647, at *8.

       Second, the “Settlement also serves the public interest by furthering the

 objectives of the Michigan legislature in enacting the PPPA.” Id.

       Thus, all of the UAW factors weigh in favor of approval. Because the

 settlement on its face is fair, reasonable, and adequate, and not a product of collusion,

 the Court should grant preliminary approval.



                                            23
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1629 Filed 08/17/23 Page 35 of 38




 VII. THE NOTICE PLAN SHOULD BE APPROVED IN FORM AND
      SUBSTANCE

       “For any class certified under Rule 23(b)(3) . . . the court must direct to class

 members the best notice that is practicable under the circumstances, including

 individual notice to all members who can be identified through reasonable effort.”

 Fed. R. Civ. P. 23(c)(2)(B); see also Eisen v. Carlisle & Jacquelin, 417 U.S. 156,

 173 (1974). Further, “[t]he court must direct notice in a reasonable manner to all

 class members who would be bound by the proposal.” Fed. R. Civ. P. 23(e)(1)(B).

 The substance of the notice to the settlement class must describe in plain language

 the nature of the action, the definition of the class to be certified, the class claims

 and defenses at issue, that class members may enter an appearance through counsel

 if so desired, that class members may request to be excluded from the settlement

 class, and that the effect of a class judgment shall be binding on all class members.

 See Fed. R. Civ. P. 23(c)(2)(B). Notice is “adequate if it may be understood by the

 average class member.” Newberg, § 11:53 at 167.

       Here, the Parties have agreed upon a multi-part notice plan that easily satisfies

 the requirements of both Rule 23 and Due Process. First, the Settlement

 Administrator (“Administrator”) will send direct notice by U.S. mail to all SCMs for

 whom the Administrator has been able to identify a postal address which it concludes

 has a reasonable likelihood of reflecting the current residence of such SCM. SA ¶

 4.1(b)(ii); Ex. B to SA. If more than one address is identified, the Administrator will


                                           24
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1630 Filed 08/17/23 Page 36 of 38




 send the notice by U.S. mail to both postal addresses, and each notice will indicate

 the address to which the SCM’s cash award check will be sent. Id. ¶ 4.1(b)(iii). Next,

 for any SCM for whom the Administrator is unable to identify at least one postal

 address, the Administrator will send notice via email. Id. ¶ 4.1(b)(iv); Ex. A to SA.

 Further, the Administrator will establish a Settlement Website that shall contain the

 “long form notice” (Ex. C to SA), as well as access to important Court documents,

 upcoming deadlines, and the ability to file claim forms online (if needed for any

 unidentified class members), or an updated postal address. Id. ¶ 4.1(c). Finally, the

 Administrator will also provide notice of the Settlement to the appropriate state and

 federal officials as required by CAFA, 28 U.S.C. § 1715. Id. ¶ 4.1(d).

 VIII. CONCLUSION
       Based on the above, Plaintiffs respectfully request that the Court grant their

 Unopposed Motion for Preliminary Approval of the Settlement. A Proposed Order

 granting preliminary approval, certifying the Settlement Class, appointing Class

 Counsel, and approving the Proposed Notice of Settlement is filed herewith (Ex. B).

 Dated: August 17, 2023                 Respectfully submitted,

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                                          25
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1631 Filed 08/17/23 Page 37 of 38




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                                      26
Case 1:21-cv-11404-TLL-PTM ECF No. 79, PageID.1632 Filed 08/17/23 Page 38 of 38




                         CERTIFICATE OF SERVICE

       I, E. Powell Miller, an attorney, hereby certify that on August 17, 2023, I

 served the above and foregoing Plaintiffs’ Unopposed Motion for Preliminary

 Approval of Class Action Settlement on all counsel of record by filing it

 electronically with the Clerk of the Court using the CM/ECF filing system.


                                       /s/ E. Powell Miller
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